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   Attribution in Cryptocurrency
   Cases
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     It is possible to develop attribution in cases involving cryptocurrency
   despite the fact that these transactions are generally considered
   anonymous. Prosecutors should anticipate that a constellation of
   information will have to be developed, not a simple chain. In
   cryptocurrency cases there is not a particular company with custody of
   the evidence that can be served.
     Throughout this piece the authors use the words “coins,”
   “cryptocurrency,” and “virtual currency” interchangeably to describe
   any non-fiat currency on a blockchain.

   I. Introduction
   A. Cryptocurrency overview
     Developing attribution is a challenge because of the way
   cryptocurrency functions. Cryptocurrency, a type of virtual currency,
   is a decentralized, peer-to-peer network-based medium of value or
   exchange. Cryptocurrency may be used as a substitute for
   government-backed “fiat” currency to buy goods or services, or
   exchanged for fiat currency or other cryptocurrencies. Cryptocurrency
   can exist digitally on the Internet, in an electronic storage device, or
   in cloud based servers. Although not usually stored in any physical
   form, public and private keys (described below) used to transfer


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cryptocurrency from one person or place to another can be printed or
written on a piece of paper or other tangible object, the recovery of
which can assist in development of attribution. Cryptocurrency can be
exchanged directly person to person, through a cryptocurrency
exchange, or through other intermediaries. Examples of
cryptocurrency are Bitcoin, Litecoin, and Ether, but there are
hundreds as of this writing.
  Most cryptocurrencies have a blockchain, which is a distributed
public ledger containing an immutable and historical record of every
transaction.1 Using open source or subscription analytical tools,
cryptocurrency transactions can often be traced in their blockchains.
Some cryptocurrencies, however, operate on blockchains that are not
public. They may operate in such a way to obfuscate transactions,
making it difficult to trace or attribute transactions. The blockchain
information itself is a single data point, albeit an important one, in
the overall attribution picture.
  Cryptocurrency can be accessed through a virtual account of sorts
called a wallet. Wallets are software programs that interface with
blockchains and generate and/or store public and private keys used to
send and receive cryptocurrency. In the cryptocurrency realm, a public
key or address is roughly akin to a bank account number, and a
private key is akin to a PIN number or password that allows a user
the ability to access and transfer value associated with the public
address or key. The location and recovery of a private key, in
whatever format it may be found, is highly valuable to attribution.
  Cryptocurrency wallets can be housed in a variety of forms,
including on a tangible, external device (“hardware wallet”),
downloaded on a PC or laptop (“desktop wallet”), with an Internet
based cloud storage provider (“online wallet”), as a mobile application
on a smartphone (“mobile wallet”), printed public and private keys
(“paper wallet”), and as an online account associated with a
cryptocurrency exchange.2
  When drafting affidavits, pleadings, and jury instructions in cases
involving this technology, prosecutors should recognize the need to
educate judges and jurors on basic terms and concepts underlying
cryptocurrencies and blockchains. In particular, in explaining the


1 Commodity Futures Trading Comm’n v. McDonnell, 287 F. Supp. 3d 213,

218–19 (E.D.N.Y. 2018).
2 See id.




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   places or persons to be searched, physical or virtual, the prosecutor
   should focus on explaining what a private key is, where it might be
   located, the forms it might take, and the possibility or likelihood that
   it might be in an encrypted format or held in a cipher.
   B. Existing primers
     There is no substitute for understanding blockchain technology at
   the earliest stages of the investigation in order to guide the
   development of attribution. Prosecutors can familiarize themselves
   with virtual currency and better understand how it is exploited for
   unlawful purposes. There are also several websites that publish
   frequent updates to news on virtual currency, as well as primers
   prepared by virtual currency specialists. The websites and primers
   may be helpful to better understanding the technology and legal
   landscape. Many public websites collect viewer data, so prosecutors
   should be cautious as they navigate these sites.
   1. Prior bulletins, anticipated bulletins, and what we
      do not repeat
     The authors recommend Assistant United States Attorney Matthew
   J. Cronin’s primer, Hunting in the Dark: A Prosecutor’s Guide to the
   Dark Net and Cryptocurrencies,3 which appeared in the Department of
   Justice Journal of Federal Law and Practice (formerly USA Bulletin)
   in July 2018. This article discusses some of the pitfalls of conducting
   an investigation that reaches into the darknet, and presents practice
   suggestions upon which the authors herein seek to expand.
     The authors encourage readers to review other pieces and their
   explanations of the importance of searching for private keys in
   physical searches of homes or searches of accounts held by electronic
   communications providers; records of deposits into traditional
   financial institutions close in time and in an amount consistent with
   known illicit cryptocurrency transactions; searches of computer logs
   for records of activity including Tor links, exchanges, and
   mixers/tumblers; and background material on the cryptocurrencies
   used or the illicit items/information involved in the underlying crime.
   The authors concur with their colleagues who have emphasized the
   importance of leveraging in-person interviews to acquire information,
   while at the same time cautioning that interviews can also prompt the
   destruction of evidence (both physical and virtual) or raise issues of


   3 66 U.S. ATT’YS BULL., no. 4, 2018, at 65–78.




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parallel civil and criminal proceedings. These include, but are not
limited to, overlapping criminal and civil discovery issues and
statements taken by regulatory agents, some of whom are category
1811 sworn federal agents, who may be aware of ongoing criminal
investigations or grand jury material.4
2. Coin Center, Brito primer, and Coindesk.com
  Coin Center is a non-profit and advocacy center that focusses on
cryptocurrency policy issues.5 The Executive Director of Coin Center is
Jerry Brito. Brito authored Bitcoin: A Primer for Policymakers.6
  CoinDesk is a website that offers cryptocurrency news by what it
bills as a group of independent journalists.7 CoinDesk was founded by
cryptocurrency investor Shakil Khan. The website posts the Bitcoin
Price Index, which, according to CoinDesk’s Wikipedia page, is
referenced occasionally by Bloomberg.8
3. More information in public domain can cause
   attribution blues
  On July 13, 2018, a grand jury in the Federal District Court for the
District of Columbia returned an indictment against 12 Russians
alleged to have engaged in large-scale cyber operations in an effort to
interfere with the 2016 U.S. presidential election.9 Count ten of the
indictment set forth the way in which the group used cryptocurrency
to cover its tracks.10 Instead of just receiving cryptocurrency as
payment for illicit narcotics, weapons, or child pornography, the group
members took a different approach. They used cryptocurrency to buy
infrastructure to be used to hack computers and to register domains.11
They tried a familiar technique of using hundreds of different email
accounts and even mining bitcoin, a process that requires a significant


4 See JUSTICE MANUAL § 1-12.000; ORG. AND FUNCTIONS MANUAL § 27.

5 See COIN CENTER, https://coincenter.org/ (last visited Oct. 22, 2018).

6 JERRY BRITO & ANDREA CASTILLO, BITCOIN: A PRIMER FOR POLICYMAKERS

(2d ed. 2016).
7 COINDESK, www.coindesk.com (last visited Oct. 22, 2018).

8 CoinDesk, WIKIPEDIA, https://en.wikipedia.org/wiki/CoinDesk (last visited

Oct. 22, 2018).
9 Indictment, United Sates v. Viktor Borisovich Netyksho et al., No.

1:18-cr-00215-ABJ (D.D.C. July 13, 2018), ECF No. 1.
10 Id. at ¶¶ 56–64.
11 Id.




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   amount of computing power.12 The “speaking indictment” in the case
   sets forth a detailed account of how the conspirators were ultimately
   identified despite their efforts at obfuscation.13
     In August of 2018, following the indictment, Nick Furneaux, a
   cyber-security consultant in the United Kingdom, published a detailed
   book on how to investigate cryptocurrencies.14
   4. Staying current in a rapidly shifting terrain
     There may be no substitute for staying current for prosecutors
   working on cases involving cryptocurrencies. Prosecutors frequently
   encountering cryptocurrency-related cases may consider setting
   Westlaw, Lexis, and Google Scholar alerts to remain aware of
   published materials and news on cryptocurrency. Of course, reaching
   out to colleagues who have handled recent cases with cryptocurrency
   is a tried-and-true way to gain expertise, and is consistent with the
   esprit de corps that exists among prosecutors in the Department of
   Justice. Both the Computer Crime and Intellectual Property Section
   (CCIPS) and the Money Laundering and Asset Recovery Section
   (MLARS) have attorneys who possess subject matter expertise in
   cryptocurrency, and there are a number of Assistant United States
   Attorneys around the country who are well-versed in cryptocurrency
   matters. Prosecutors should avail themselves of these resources
   whenever confronting a cryptocurrency related case.
   C. Applicable regulations and laws
   1. Criminal code violations
     There is a range of criminal activity which may involve or be
   facilitated by cryptocurrencies. The activity will inform where
   investigators should look for attribution and how it is developed.
     Cryptocurrencies are generally used in two ways: (1) as a tool or
   technique to transfer or store value and (2) to acquire the tools
   necessary to commit certain crimes, such as weapons or toxins for
   crimes of violence, servers and domains used for hacking, or
   conducting malign influence campaigns and more. Thus, established


   12 Id.

   13 Id.

   14 NICK FURNEAUX, INVESTIGATING CRYPTOCURRENCIES: UNDERSTANDING,

   EXTRACTING, AND ANALYZING BLOCKCHAIN EVIDENCE (David S. Hoelzer ed.,
   1st ed. 2018).


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criminal statutes work well as charging options.
  Often cryptocurrencies are used as the preferred payment method
for distribution of contraband and other illegal goods and services, or
as a means of collecting funds from victims of traditional fraud or
computer intrusions, such as ransomware. This means that a wide
variety of offenses punishable under Title 18, including wire fraud,
mail fraud, access device fraud and identity theft, and fraud in
connection with computers,15 as well as contraband type violations
such as illegal firearms sales and possession,16 possession or
distribution of counterfeit items,17 and offenses punishable under
Title 21 United States Code are possible.
  Focusing on the cryptocurrency transactions, prosecutors have a
wide variety of money laundering violations at their disposal.
Depending on the facts and circumstances, transactions involving
cryptocurrency can form the basis of concealment, promotion, sting,
and international money laundering pursuant to 18 U.S.C. § 1956,18 or
qualify as a monetary transaction involving proceeds of illegal activity
under section 1957.19 In addition, individuals or companies engaged in
money transmission involving cryptocurrency may be subject to state
and federal registration, and record keeping and reporting
requirements punishable under 18 U.S.C. § 196020 and Title 31,21 as
further discussed below. Moreover, cryptocurrency transactions may
be used as the means to collect funds relating to terrorist financing,22
pay for acts of espionage under Title 18, Chapter 37,23 conduct foreign
influence campaigns or criminal violations of the Foreign Agents’
Registration Act,24 support of child exploitation activities under Title




15 18 U.S.C. §§ 1343 (wire fraud), 1341 (mail fraud), 1029 (access device

fraud), 1028 (identity theft and fraud), 1028A (aggravated identify theft), and
1030 (fraud in connection with computers).
16 18 U.S.C. § 921 et seq.
17 18 U.S.C. § 2320.

18 18 U.S.C. § 1956.

19 § 1957.
20 § 1960.

21 31 U.S.C. § 101 et seq.

22 18 U.S.C. § 2339 et seq.
23 18 U.S.C. § 792 et seq.
24 22 U.S.C. § 611 et seq.




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   18, Chapter 110,25 or engage in computer intrusion activities.26
     Finally, as with any illegal activity involving some form of financial
   transaction or concealment, prosecutors should consider tax violations
   where appropriate.
   2. FinCEN and the Bank Secrecy Act
     Some exchanges function as regulated businesses, which may hold
   information valuable for attribution. The Department of Treasury’s
   Financial Crimes Enforcement Network (FinCEN) has primary
   responsibility for administering the Bank Secrecy Act (BSA)27 and
   implementing its regulations. Perhaps most important for attribution
   development, FinCEN is the steward of the BSA database.28
     FinCEN regulates individuals or entities engaged in the business of
   accepting and transmitting virtual currency. FinCEN requires money
   services businesses (MSBs) that conduct money transmission in
   virtual currency to meet the same AML/CFT29 standards as other
   money services businesses under the BSA.30 This includes registering
   with FinCEN, establishing an AML program reasonably designed to
   prevent money laundering and terrorist financing, and meeting
   certain recordkeeping and reporting obligations, such as filing
   Suspicious Activity Reports (SARs).31 FinCEN also collects foreign
   bank account reports (FBARs), currency and monetary instrument
   reports (CMIRs), and currency transactions reports (CTRs)—all of
   which contain pieces of information that may be used to develop
   attribution.32
     SARs are lead information only and are generally inadmissible in
   court.33 A target or subject cannot be told about the existence of a SAR


   25 18 U.S.C. § 2251 et seq.

   26 18 U.S.C. § 1030.
   27 Bank Secrecy Act, Pub. L. No. 91-508, 84 Stat. 1118 (1970).

   28 See 31 U.S.C. § 310(c).

   29 U.S. DEP’T OF THE TREASURY, FIN. CRIMES ENF’T NETWORK, ADVISORY ON

   THE FATF-IDENTIFIED JURISDICTIONS WITH AML/CFT DEFICIENCIES (Apr.
   2018) (defining AML as anti-money laundering and CFT as combatting the
   financing of terrorism).
   30 See 31 U.S.C. § 5330.

   31 31 C.F.R. §§ 1010.300 et seq.

   32 31 C.F.R. §§ 1010.300–1010.370.
   33 See, e.g., Weil v. Long Island Savings Bank, 195 F. Supp. 2d 383, 389

   (E.D.N.Y. 2001).


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by anyone during an interview intended to develop attribution.34 Law
enforcement agents are permitted, however, to request supporting
documents evidencing the suspicious activity or transaction from a
financial institution, and thereafter develop a more fulsome record of
the cryptocurrency use or formulate questions that avoid referencing
any SAR.35 FinCEN’s requirements apply equally to domestic and
foreign located virtual currency money transmitters—even if the
foreign located entity does not have a physical presence in the
United States.36 The entity need only do business, in whole or
substantial part, in the United States.37
  In 2011, FinCEN issued a final rule that, among other things,
defined “money transmission services” to include accepting and
transmitting “currency, funds, or other value that substitutes for
currency . . . by any means.”38 The phrase “other value that
substitutes for currency” is intended to encompass situations when a
transmission includes something that the parties recognize has value,
which is equivalent to, or can substitute for, real currency. The
definition of “money transmission” is technology neutral: whatever the
platform, protocol, or mechanism, the acceptance and transmission of
value from one person to another person or from one location to
another location is regulated under the BSA.39
  In March 2013, to provide additional clarity and respond to
questions from the private sector, FinCEN issued interpretive
guidance regarding the application of FinCEN’s regulations to certain
transactions involving the acceptance of currency or funds and the
transmission of virtual currency (hereinafter the 2013 Guidance).40
  The 2013 Guidance identified the participants to some virtual
currency arrangements, including “exchangers,” “administrators,” and
“users,” and clarified that exchangers and administrators generally
qualify as money transmitters under the BSA, but users do not.41 The
2013 Guidance states that virtual currency administrators and

34 31 U.S.C. § 5318(g)(2)(A)(ii); 75 Treas. Reg. § 75593-01 (2010).

35 31 C.F.R. § 1010.320(d).
36 Kenneth A. Blanco, FinCEN Dir., Remarks at the 2018 Chicago-Kent Block

(Legal) Tech Conference (Aug. 9, 2018).
37 Id.
38 76 Treas. Reg. § 43585-01.

39 Id.

40 Press Release, Fin. Crimes Enf’t Network, FinCEN Issues Guidance on

Virtual Currencies and Regulatory Responsibilities (Mar. 18, 2013).
41 Id.




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   exchangers, including an individual exchanger operating as a
   business, are considered MSBs, obligated to have AML programs, and
   file SARs or other BSA reports.42
      FinCEN has issued several administrative rulings providing
   additional clarity regarding virtual currency matters including, but
   not limited to, discussing virtual currency issues such as mining and
   operating a virtual currency trading platform.43 In an August 9,
   2018 public statement of its Director, FinCEN advised that its
   regulations cover transactions where the parties are exchanging fiat
   (meaning issued by a government or nation) and convertible virtual
   currency, and transactions from one virtual currency to another
   virtual currency.44
      If there is an MSB involved in the case, a prosecutor can begin to
   look for attribution information in reports within the FinCEN
   database.45 Prosecutors should keep in mind any legal restrictions on
   the use of the information as they develop their attribution.
   3. Office of Foreign Assets Control
     Cryptocurrency moves globally, and in some instances it moves to
   countries under U.S. State Department (State) or Treasury sanctions.
   The Office of Foreign Assets Control (OFAC) of the Treasury
   administers and enforces economic and trade sanctions against
   targeted foreign countries and regimes; terrorists; international
   narcotics traffickers; those engaged in activities related to the
   proliferation of weapons of mass destruction; and other threats to the
   national security, foreign policy, or economy of the United States
   based on U.S. foreign policy and national security goals.46



   42 See U.S. DEP’T OF THE TREASURY, FIN. CRIMES ENF’T NETWORK,

   APPLICATION OF FINCEN’S REGULATIONS TO PERSONS ADMINISTERING,
   EXCHANGING, OR USING VIRTUAL CURRENCIES (Mar. 18, 2013).
   43 See FIN. CRIMES ENFORCEMENT NETWORK, https://www.fincen.gov/ (last

   visited Nov. 13, 2018).
   44 Kenneth A. Blanco, FinCEN Dir., Remarks at the 2018 Chicago-Kent Block

   (Legal) Tech Conference (Aug. 9, 2018).
   45 See FIN. CRIMES ENFORCEMENT NETWORK, https://www.fincen.gov/ (last

   visited Nov. 13, 2018).
   46 See Office of Foreign Assets Control—Sanctions Programs and Information,

   U.S. DEP’T OF THE TREASURY,
   https://www.treasury.gov/resource-center/sanctions/Pages/default.aspx (last
   visited Oct. 22, 2018).


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   OFAC compliance obligations are the same for individuals
 transacting in digital currency. As a general matter, U.S. persons and
 persons otherwise subject to OFAC jurisdiction, including firms that
 facilitate or engage in online commerce or process transactions using
 digital currency, are responsible for ensuring that they do not engage
 in unauthorized transactions prohibited by OFAC sanctions, such as
 dealings with blocked persons or property, or engaging in prohibited
 trade or investment related transactions.47 Prohibited transactions
 include transactions that evade or avoid, have the purpose of evading
 or avoiding, cause a violation of, or attempt to violate prohibitions
 imposed by OFAC under various sanctions authorities.48 Additionally,
 persons who provide financial, material, or technological support for
 or to a designated person may be designated by OFAC under the
 relevant sanctions authority. This includes technology companies,
 administrators, exchangers, and users of digital currencies.49
   In any case involving cryptocurrency, there could be attribution
 information within OFAC’s holdings that may be part of an
 administrative record. Portions thereof may be classified for reasons
 of national security. The parallel proceedings concerns with using this
 information are the same as with other regulatory agencies’ holdings.
 Prosecutors should carefully consider each concern before contacting
 OFAC for attribution information. Both MLARS and the National
 Security Division (NSD) can be helpful to addressing these concerns.
 NSD can provide guidance on the considerable legal restrictions on
 classified information.
 4. SEC and securities
   In 2017, the Securities and Exchange Commission (SEC) issued an
 investigative report cautioning market participants that offers and
 sales of digital assets by “virtual” organizations are subject to the
 requirements of the federal securities laws.50 Such offers and sales,


 47 Resource Center, OFAC FAQs: Sanctions Compliance, U.S. DEP’T OF THE

 TREASURY,
 https://www.treasury.gov/resource-center/faqs/Sanctions/Pages/faq_complianc
 e.aspx (last visited Dec. 4, 2018).
 48 Id.

 49 Id.

 50 U.S. Sec. & Exch. Comm’n, Report of Investigation Pursuant to Section

 21(a) of the Securities Exchange Act of 1934: The DAO (Release No. 81207,
 July 25, 2017), https://www.sec.gov/litigation/investreport/34-81207.pdf.


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   conducted by organizations using distributed ledger or blockchain
   technology, have been referred to, among other things, as “Initial Coin
   Offerings” (ICOs) or “Token Sales.”51 “Whether or not a particular
   transaction involves the offer or sale of a security—regardless of the
   terminology or technology used—will depend on the facts and
   circumstances, including the economic realities of the transaction.”52
     The SEC has suspended trading of more than a dozen common
   stocks of certain issuers who made claims regarding their investments
   in ICOs or touted coin/token related news. It has warned investors
   about potential scams involving companies claiming to be related to,
   or asserting they are engaging in, ICOs. Parties perpetrating these
   scams often use the lure of new and emerging technologies to convince
   potential victims to invest.
     Public statements regarding registration or principals engaged in
   offerings may assist in establishing attribution in cases where ICOs
   are launched for the purpose of facilitating or covering up criminal
   activity. But if the SEC is conducting an investigation or enforcement
   action, prosecutors may encounter parallel proceedings issues, such as
   restrictions on the use of statements made by a target to the SEC
   coterminous with a criminal case that was not public. This can
   complicate any efforts to use SEC-acquired information to help
   establish attribution and should be carefully considered.53 SEC staff
   providing assistance on these matters can be reached at
   FinTech@sec.gov.
   5. Commodity Futures Trading Commission and
      Commodities Trading
     Like FinCEN, the Commodity Futures Trading Commission (CFTC)
   regulates certain uses of cryptocurrency and may be a source of
   information that can be used to develop attribution. The CFTC has
   oversight over futures, options, and derivatives contracts under the
   Commodity Exchange Act (CEA).54 The CFTC declared virtual
   currencies can be “commodities” subject to oversight under its CEA
   authority.55 The CEA definition of commodity includes “all services,



   51 Id. at 1.

   52 Id. at pp.16–17.

   53 See JUSTICE MANUAL § 1-12.000.
   54 7 U.S.C. § 1 et seq.
   55 Commodity Futures Trading Comm’n v. McDonnell, 287 F.3d 213,




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 rights, and interests in which contracts for future delivery are
 presently or in the future dealt in.”56
   The CFTC’s jurisdiction is implicated when a virtual currency is used
 in a derivatives contract, or if there is fraud or manipulation involving
 a virtual currency traded in interstate commerce. In its regulatory
 role, the CFTC has taken action against unregistered bitcoin futures
 exchanges; enforced laws prohibiting wash trading57 and prearranged
 trades on a derivatives platform; issued proposed guidance defining
 derivative and spot markets in the virtual currency context; issued
 warnings about valuations and volatility in spot virtual currency
 markets; and addressed a virtual currency Ponzi scheme.
   “Beyond instances of fraud or manipulation, the CFTC generally
 does not oversee ‘spot’ or cash market exchanges and transactions
 involving virtual currencies which do not utilize margin, leverage, or
 financing.”58 Aspects of the CFTC’s enforcement actions, however, are
 public and can be mined for attribution information, provided
 prosecutors do not run afoul of parallel proceedings restrictions.
 6. IRS and tax enforcement
   According to the Internal Revenue Service (IRS), virtual currency
 transactions, like any other property transactions, are taxable as



 228 (E.D.N.Y. 2018); Order Instituting Proceedings Pursuant to Sections 6(c)
 and 6(d) of the Commodity Exchange Act, Making Findings and Imposing
 Remedial Sanctions at 3, In re Coinflip, Inc., No. 15-29 (Commodity Futures
 Trading Comm’n Sep. 17, 2015), https://www.cftc.gov/sites/default/files/idc/
 groups/public/@lrenforcementactions/documents/legalpleading/enfcoinfliprord
 er09172015.pdf (“Bitcoin and other virtual currencies are encompassed in the
 definition and properly defined as commodities.”).
 56 CFTC Glossary, U.S. COMMODITY FUTURES TRADING COMM’N,

 https://www.cftc.gov/ConsumerProtection/EducationCenter/CFTCGlossary/gl
 ossary_co.html (last visited Nov. 12, 2018) (defining commodity).
 57 CFTC Glossary, U.S. COMMODITY FUTURES TRADING COMM’N,

 https://www.cftc.gov/ConsumerProtection/EducationCenter/CFTCGlossary/gl
 ossary_wxyz.html (last visited Nov. 12, 2018) (“Wash trading” is defined as
 “Entering into, or purporting to enter into, transactions to give the
 appearance that purchases and sales have been made, without incurring
 market risk or changing the trader’s market position.”).
 58 LABCFTC, A CFTC PRIMER ON VIRTUAL CURRENCIES 11 (Oct. 17, 2017),

 https://www.cftc.gov/sites/default/files/idc/groups/public/documents/file/labcftc
 _primercurrencies100417.pdf.


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   income.59 The IRS has concluded that virtual currency will be treated as
   property for U.S. federal tax purposes, which means that a payment in
   virtual currency is subject to information reporting just like any other
   payment in property. Further, third parties who settle payments made
   in currency on behalf of merchants accepting virtual currency must
   report those payments to the IRS, among other things. That can mean
   that the IRS has within its holdings a small piece toward attribution.
     A court order for tax returns may lead to evidence of attribution, mens
   rea, or may suggest tax related charges in any case involving
   cryptocurrency.

   II. Before you develop attribution
   A. De-conflicting
     Law enforcement agents conducting undercover investigations
   involving cryptocurrency related entities in the darknet need to
   ensure that they are not investigating the same subjects as other
   agencies. They should also take steps to ensure they are not
   communicating with other law enforcement agents posing as
   criminals. Before conducting undercover operations, prosecutors
   should make sure that law enforcement agents have checked with
   appropriate multi-agency de-confliction organizations and databases.
   This should be done in any routine undercover case that may involve
   cryptocurrency.
     In addition, as investigators develop bits of attribution evidence in
   their cases, such as email addresses, online usernames, or
   cryptocurrency public addresses, they should continually enter the
   information in the de-confliction databases to avoid conflicts while the
   case is ongoing.
   B. Discussing investigative agents and analysts’
      compliance with their agencies’ policies and
      procedures
     The proper documentation of the forensic trail used by investigators
   will be important to showing why the government’s assessment of
   attribution is reliable. Documentation should start early. Prosecutors
   can avoid the creation of a weak audit trail by following some basic
   common sense principles. First, investigator access to the darknet


   59 INTERNAL REVENUE SERV., NOTICE 2014–21 (2014).




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 should not be undertaken except through the use of techniques that
 have been approved by their agency.
   All federal law enforcement agencies have policies and procedures
 governing undercover activities. Many are contained within larger
 general orders and updated on a regular basis, such as the FBI’s
 Domestic Investigative and Operations Guide.60 In addition, the
 agency may have other guidance or policy governing undercover
 operations in cyberspace, in particular the darknet.
   An investigative agency’s written policies on Tor access or
 undercover cyber operations should be followed unless technologically
 obsolete and there is a memorialized consensus within the agency’s
 leadership about its obsolescence. Prosecutors should document law
 enforcement work that may appear to be a policy deviation and be
 prepared to have a witness explain it in court. Any deviation from the
 policies may complicate undercover operations, compromise the
 investigation, or become an issue at trial, particularly for attribution.
 No attribution should appear flawed because of a failure to follow
 agency rules.

 III. Blockchain analysis’s role in
      attribution
   Cryptocurrencies rely on “blockchains,” in which transactions are
 memorialized after they have been cryptographically signed and
 verified. Many cryptocurrencies have public blockchains allowing
 anyone to view the full history of transactions for every
 cryptocurrency address involved in a transaction. The blockchain
 thereby serves as a public transaction ledger and an incredibly
 valuable resource for investigators. Armed only with the knowledge of
 a target’s cryptocurrency address and this single—but highly
 valuable—data set, law enforcement can learn a myriad of vital pieces
 of information about a target. For example, the blockchain can reveal
 the total amount that the subject sent and received, the total value of
 the subject’s current holdings in the cryptocurrency, the addresses to
 which the subject sent funds, the addresses from which the subject
 received funds, and the addresses of co-conspirators and other


 60 FBI Domestic Investigations and Operations Guide, FED. BUREAU OF

 INVESTIGATION, https://vault.fbi.gov/FBI%20Domestic%20Investigations
 %20and%20Operations%20Guide%20%28DIOG%29 (last visited Nov. 14,
 2018).


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   associated individuals. Blockchain analysis can even show incoming
   transactions from victims. These transactions may reveal the number
   of victims and the amount of money received from the victims, as well
   as the victims’ cryptocurrency addresses. The addresses may assist
   with identifying and notifying victims of a wide range of criminal
   schemes.
     While this information can be highly valuable to a criminal
   investigation, the value largely depends on the investigators’ ability to
   put the information into context. On its own, viewing cryptocurrency
   transactions on the blockchain shows only the transfer of some
   quantity of funds from one string of letters and numbers to another at
   a point in time. Correlating that activity to real world events—for
   example, the payment of funds by a victim or an undercover
   agent—provides additional context. The greatest value, however, may
   come from the ability to associate certain addresses with known
   entities, particularly virtual currency exchanges. The known entities
   may collect records regarding the user’s true identity and by tracing a
   target’s funds to the entity, law enforcement can glean valuable
   insight into a target’s true identity.
   A. Commercial tools and clustering
     Law enforcement uses commercial services offered by several
   different blockchain analysis companies to investigate certain types of
   cryptocurrency transactions, most frequently Bitcoin. These
   companies analyze the blockchain in an attempt to identify the
   individuals or groups involved in the cryptocurrency transactions. In
   addition to its use by law enforcement, this third-party blockchain
   analysis software is used as anti-money laundering software by
   financial institutions worldwide.
     One feature of the software that is particularly valuable to law
   enforcement is “clustering.” Many cryptocurrency users set up
   multiple addresses. For example, a user or business may create many
   cryptocurrency addresses to receive payments from different
   customers. When the user wants to move the cryptocurrency received
   (for example, to exchange one type of cryptocurrency for other
   currency or to use cryptocurrency to purchase goods or services), it
   may group those addresses together to send a single transaction.
   Because only the user holding an address’ private key can spend funds
   associated with that address, the user responsible for a transaction
   spending funds from multiple cryptocurrency addresses must have the
   private key associated with each of the addresses.


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   For law enforcement, it is highly valuable to be able to accurately
 associate multiple addresses to a given individual or entity. Law
 enforcement uses third-party blockchain analysis software to locate
 cryptocurrency addresses that are spent together in a single
 transaction. These addresses can then be “clustered” together to
 represent the same owner. The clusters associated with major darknet
 marketplaces can amass tens of thousands of addresses.
   Several sites offer free, basic blockchain analysis tools that allow
 users to view the transaction history associated with a given address.
 While these tools may allow the user to perform some basic tracing,
 they unfortunately are often insufficient for tracing or attributing
 complex fund flows.
 B. Legal considerations
   Before using commercially available tools for forensics or blockchain
 analysis, consider how the prosecution will lay a foundation for the
 reliability of the tools for a judge or jury. While many of these tools
 are in the public domain, they will still have to be explained to a fact
 finder. Anticipate that proprietary algorithms or other trade secrets
 may also be used in commercial tools. Trade secrets may need to be
 protected from public disclosure through a motion for a protective
 order. Prosecutors should consider consulting with CCIPS when they
 face any trade secrets issues in an investigation.
   If any blockchain analysis relies upon a commercial tool, there may
 be limitations to the licensing of that tool to the federal government
 agency. An attorney from the agency’s general counsel’s office will
 likely know if there are any limitations based on the contract between
 the law enforcement agency and the private company.
 C. Acquiring information from exchanges
   Since the blockchain serves as a searchable public ledger of every
 cryptocurrency transaction, investigators may trace transactions to
 cryptocurrency exchanges. Because those exchanges collect identifying
 information about their customers, subpoenas or other appropriate
 process submitted to the exchanges can, in some instances, reveal the
 true identity of the individual responsible for the transaction. In the
 United States, exchanges are considered MSBs which must register
 with FinCEN and collect “Know Your Customer,” commonly referred




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   to as “KYC,” information.61 These FinCEN registered exchanges may
   hold valuable information, including: the target’s true name; date of
   birth; driver’s license; passport and/or social security number; bank
   account information; e-mail address; phone number; IP address and
   device information; photograph; transaction history; and information
   pertaining to other services used by the target. Many exchanges
   operating outside of the United States also collect this type of
   information.62
     For U.S.-based virtual currency exchanges, prosecutors and
   investigators can obtain records using a grand jury subpoena.
   Foreign-based virtual currency exchanges servicing U.S. customers or
   otherwise doing business in the U.S. are required to have a U.S. agent
   for receiving process.63
     If the exchange is overseas without a U.S. presence, records can be
   obtained via Mutual Legal Assistance Treaty (MLAT). The case agent
   may also consider submitting an EGMONT request through
   FinCEN,64 but it comes with possible limitations.65 These requests are
   received by the Financial Intelligence Units (FIUs) of foreign
   countries, some of which lack the power to produce records exceeding
   those comparable to SARs under the BSA.66 Moreover, an FIU may be
   obligated to share a request with their law enforcement or intelligence
   counterparts, thereby potentially compromising an ongoing
   investigation. An EGMONT response may come with conditions,



   61 Guidance FIN-2013-G001 from Dep’t of the Treasury Fin. Crimes Enf’t

   Network on Application of FinCEN’s Regulations to Persons Administering,
   Exchanging, or Using Virtual Currencies (Mar. 18, 2013),
   https://www.fincen.gov/resources/statutes-regulations/guidance/application-fi
   ncens-regulations-persons-administering.
   62 Advisory FIN-2012-A001 from Dep’t of the Treasury Fin. Crimes Enf’t

   Network on Foreign-Located Money Services Businesses (Feb. 15, 2012),
   https://www.fincen.gov/resources/advisories/fincen-advisory-fin-2012-a001.
   63 Id.
   64 See EGMONT GROUP, https://www.egmontgroup.org/ (last visited

   Nov. 14, 2018).
   65 Case agents may also work through their relevant law enforcement

   agency’s liaison seated at FinCEN for submitting EGMONT requests.
   66 While the EGMONT principles of information exchange may encourage

   sharing rules that are consistent, individual nations are still subject to the
   laws within their sovereign territories. EGMONT Group of Financial
   Intelligence Units Charter, Oct. 30, 2013.


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 including limitations on the use of the information received.
   Records from the exchanges alone, however, may be insufficient.
 Many exchanges, particularly those located outside of the
 United States or whose operators do not comply with U.S. Bank
 Secrecy Act requirements, may collect nothing more than an email
 address from their account holders and perform little to no identity
 verification. More sophisticated individuals will likely avoid using the
 exchanges that collect identification information in an effort to avoid
 detection and attribution of transactions by law enforcement.
 Prosecutors should nonetheless attempt to collect evidence from
 established exchanges or seized data sets of shut down exchanges.
   Finally, statutory non-disclosure requirements do not apply to
 cryptocurrency exchanges (MSBs) and related companies in the same
 manner as for traditional financial institutions or internet service
 providers.67 Some entities value customers’ absolute privacy and
 pseudo anonymity—two goals that have motivated the development of
 many cryptocurrencies—more than compliance with government
 requests and AML/CFT concerns. Prosecutors should be aware that
 cryptocurrency service providers may disclose to customers the fact of
 receipt of a law enforcement request for information, despite the fact
 that such disclosures are not a legitimate practice.
   Prosecutors are strongly encouraged to work through the
 appropriate main Department of Justice component to become aware
 of the risks that may be presented and to help manage expectations of
 the prosecution and investigative teams.
 D. Blockchain obfuscation techniques
    (chain-hopping/tumblers/mixers)
   Criminals are actively seeking to frustrate law enforcement’s ability
 to effectively trace transactions on the blockchain. One common
 technique involves the use of a cryptocurrency “mixer” or “tumbler.”
 The mixer or tumbler may operate as a stand-alone service or may be
 integrated into some other service, such as a darknet marketplace.
   Mixers attempt to obfuscate the source or owner of cryptocurrency
 by mixing the cryptocurrency of several users prior to delivery to its
 ultimate destination. Mixers, for a fee, allow users to conceal proceeds
 from illegal transactions by accepting “dirty” bitcoins68 from users and


 67 See 18 U.S.C. § 1510(b); 18 U.S.C. § 2703(d).
 68 “Dirty” bitcoins are cryptocurrency used in furtherance of illegal activities,




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   returning “clean” bitcoins69 to a wallet address specified by the
   original user. Different mixers have various features and processes.
   Generally, the customer can send cryptocurrency to a specific wallet
   address that is controlled by the mixer. The mixer then commingles
   this cryptocurrency with funds received from other customers and
   sends it through a convoluted series of transactions, making it
   difficult to track on the blockchain. When a customer makes a request
   to “cash out” his or her cryptocurrency, the mixer arranges for the
   funds to be transferred from another address that cannot be traced to
   the customer.
     Criminals also engage in a practice known as “chain hopping,” in
   which they move from one cryptocurrency to another, often in rapid
   succession. Because each cryptocurrency has its own blockchain,
   investigators who are trying to follow these trails may encounter
   significant difficulties. Depending on the service through which the
   target exchanged the original form of cryptocurrency for another
   cryptocurrency, it may be difficult to determine if and when a chain
   hop has occurred. This difficulty is exacerbated by the difficulty in
   tracing certain alternative coins, particularly those that do not have a
   public blockchain.
   E. Cautions
     Cryptocurrency cases can certainly challenge a prosecutor’s ability
   to anticipate risks in any investigation. The topography of
   cryptocurrency cases may seem marked by sudden deep chasms. The
   places where information of attribution might be sought are not
   always like traditional financial institutions that have a robust legal
   compliance shop. Evidence is often held in countries with which the
   United States has uneven relationships.
     Many wallet hosting services are located outside of the
   United States. Prosecutors should consult with the Office of
   International Affairs (OIA) prior to engaging in activities which may
   require access to servers or companies located internationally. Some
   activities may require an MLAT or other similar authority even where
   the wallet company does not itself have access to or control of the
   cryptocurrency accounts.



   such as those taking place on Darknet marketplaces.
   69 “Clean” bitcoins are bitcoins that purportedly cannot be traced to illegal

   activities.


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   National security issues can arise in cryptocurrency cases after the
 investigation is underway. The issues may prompt concerns that there
 may be classified information related to the case in the possession of
 the intelligence community agencies. Classified information in a case
 is often identified through a response to a Prudential Search Request
 (PSR).70 PSRs are simply written requests to intelligence agencies71 to
 search their holdings for information related to a particular case. If
 prosecutors or the law enforcement agent assigned to the case have a
 specific reason to believe that the intelligence community may be in
 possession of information that relates to the case, a PSR should be a
 part of a prosecutor’s due diligence efforts. All PSRs must be sent to
 the NSD. NSD’s Counterterrorism and Counterintelligence and
 Export Control Sections are the points of contact for PSRs in
 counterterrorism and counterintelligence cases, and the Law and
 Policy Section for all other criminal cases.72 All PSRs directed to the
 intelligence agencies, however, must come from NSD. NSD attorneys
 will assist with these requests.73
   Where national security charges are contemplated, prosecutors
 should consult with their national security sections, their
 Antiterrorism Coordinators, and adhere to the Department of Justice
 policies set forth in Title 9 of the Justice Manual,74 and other
 Department of Justice policies governing national security cases. NSD
 prosecutors have expertise in managing classified information and the
 Classified Information Procedures Act.75



 70 See CRIM. RESOURCE MANUAL § 2052 (defining “prudential search”).

 71 See Intelligence Reform and Terrorism Prevention Act of 2004, Pub. L.

 No. 108–458, § 1011 (codified as 50 U.S.C. § 3003(4)) (identifying intelligence
 agencies).
 72 JUSTICE MANUAL § 9-90.200; Memorandum from Gary G. Grindler, Acting

 Deputy Att’y Gen., U.S. Dep’t of Just. on Policy and Procedures Regarding
 Discoverable Information in the Possession of the Intelligence Community or
 Military in Criminal Investigations 9–10 (Sept. 29, 2010), redacted version
 available at Robert Chesney, Justice Department’s 2014 Policy on the Duty to
 Search for Exculpatory Evidence in IC or DOD Possession, LAWFARE (Jan. 12,
 2018, 8:00 AM),
 https://www.lawfareblog.com/justice-departments-2014-policy-duty-search-ex
 culpatory-evidence-ic-or-dod-possession [the Grindler Memo].
 73 Grindler Memo, supra note 72.
 74 JUSTICE MANUAL § 9-1000 et seq.
 75 18 U.S.C. app. 3.




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     These concerns may arise as matters of first impression to
   prosecutors who previously litigated routine criminal cases.
   Fortunately, the Department of Justice has the right experts to help
   prosecutors anticipate the risks that could prevent the development of
   attribution.

   IV. Protecting forensic techniques used
       and managing private companies
     In the vast majority of cases, even those involving cryptocurrency,
   prosecutors will not need to present extensive evidence related to
   clustering and advanced blockchain analysis. Though those tools may
   be critical to the initial identification of a target and their assets,
   investigators often find equally compelling attribution evidence
   during subsequent investigation. Prosecutors should consider the best
   way to present their case to the jury, including identification of
   testimony and evidence that are most helpful.
   A. Motions in limine, to seal, for protective order,
      and other factually specific filings
   1. Know about the private company before you plan
      motions
     Many current investigative tools were created by private companies
   that have received considerable press. Chainalysis, Neutrino, and
   Elliptic currently provide blockchain analysis services to a variety of
   customers, while many more companies touting blockchain analysis
   tools are starting up. Representatives of many of these companies
   have made public statements or testified before congressional
   committees about assistance they have rendered to particular
   agencies or investigations.76 The executives have also described in


   76 See, e.g., Jonathan Levin, Opening Statement for the House Financial

   Services Committee’s Subcommittee on Terrorism and Illicit Finance
   (June 8, 2017); Neeraj Agrawal, Hot Takes, COINCENTER BLOG
   (June 30, 2017),
   https://coincenter.org/link/we-demonstrated-how-bitcoin-works-in-congress;
   Fortune Staff, Bitcoin Tracker Chainalysis Raises $16 Million, Plans to Track
   10 More Cryptocurrencies, FORTUNE (Apr. 5, 2018),
   http://fortune.com/2018/04/05/chainalysis-raises-16m-series-a-plans-to-track-
   10-more-cryptocurrencies/; Jamie Redman, Chainalysis Says They’ve Found
   the Missing $1.7 Billion Dollar Mt Gox Bitcoins, BITCOIN.COM (Oct. 15, 2018),


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 general terms the capacity of their technology to perform analytic
 tasks (such as clustering), made comments about terrorists’ use of
 virtual currency, and cited to other instances in which they have
 advised the federal government.
   Prosecutors should understand what blockchain analysis tools (or
 what components of any such tool) are widely known or publicly
 available, and what are needing of protections as trade secrets or
 commercial proprietary information. Any discussion with the company
 providing the tool should take place with an investigative agent
 present.
 2. Motions in limine
   Prosecutors may want to file a motion in limine asking the trial
 court to prevent cross-examination on unrelated classified matters the
 company may be supporting, on other proprietary information that is
 not helpful to a defense, or that veers from relevant facts to irrelevant
 trade secrets. Prosecutors should plan to request the court limit
 testimony and examination of any witnesses from a private company
 to facts needed to establish the reliability of the commercial product
 for attribution or value tracing.
   Prosecutors conducting an investigation into a corporation or its
 leadership may want to determine if the private blockchain analysis
 company already has a relationship with the corporation under
 investigation that may present a conflict. This can also avoid surprise
 to the prosecution at a late stage in the attribution trial.
 3. What to place under seal
   To avoid actions that could harm the investigation, any affidavit
 that could signal to a target that an investigation is ongoing or reveal
 sensitive investigative techniques should be placed under seal.
 Unsealed affidavits could result in a target fleeing a jurisdiction or
 avoiding travel to a location where they can be arrested. Further,
 unsealed affidavits may reveal investigative methods or facts that
 could result in action by a target that might diminish the amount of
 assets available for seizure (such as identification of a wallet address
 or specific cryptocurrency private key), destruction or complication of
 evidence (such as the deletion of logs or destruction of other digital



 https://news.bitcoin.com/chainalysis-says-theyve-found-the-missing-1-7-billio
 n-dollar-mt-gox-bitcoins/.


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   evidence), or worse.
   4. Protective orders
      Prosecutors may also consider filing a motion for a protective order
   to prevent public disclosure of sensitive law enforcement techniques
   provided by private companies, trade secrets, and other proprietary
   commercial information, including algorithms that are not relevant to
   the government’s proof or the defense. In addition, consider whether
   to seek a protective order that would prevent public access to the
   specific proprietary information after a defendant is permitted to use
   it in their defense. Before doing so, consult with CCIPS or an NSD
   attorney about the implications of seeking such an order on the
   defendant’s right to public trial under the Sixth Amendment of the
   U.S. Constitution.
      Protective orders may be needed in cryptocurrency cases to address
   the company’s other businesses with the government from detailed
   disclosure, trade secrets, or other information that could cause
   unnecessary damage to the company or national security.

   V. Organizations’ use of cryptocurrency in
      national security matters
     In the case of terrorist organizations, cryptocurrency is still not the
   preferred method to transfer value. Instead, the long tradition of
   using hawalas remains a favored method of providing terrorists
   support, along with the use of commercial money transfer businesses.
   The difficulties in cashing out cryptocurrency in conflict regions
   contributes to the slow adoption of cryptocurrencies by terror groups.
     Prosecutors, however, may see cases in which individual terror
   supporters are using cryptocurrency to crowd-fund a terror operation
   or to purchase servers or other computer infrastructure for hacking or
   extremist messaging.
     Several nations under U.S. Department of Treasury sanctions have
   proposed the development of new cryptocurrency in an effort to
   undermine the dollar and thereby diminish the efficacy of sanctions.77


   77 Tony Spilotro, Iran is Preparing National Rial-Backed Cryptocurrency to

   Evade US Sanctions, NEWSBTC (Aug. 28, 2018), https://www.newsbtc.com
   /2018/08/29/iran-is-preparing-national-rial-backed-cryptocurrency-to-evade-u
   s-sanctions/; Morgan Wright, As Iran Turns to Bitcoin and Its Own
   Cryptocurrency to Avoid Sanctions, Maybe It’s Time to Build Another Stuxnet,


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 As the above-referenced indictment in the Russian election
 interference case demonstrates, cryptocurrency can be used by state
 actors and proxies to conceal purchases of infrastructure to be used in
 espionage or influence campaigns.

 VI. Overlap with traditional criminal
     investigative techniques
 A. Search and seizure
    The first step to seizing virtual currency involves ascertaining the
 location of virtual currency private keys. The keys may be stored
 locally on a target’s device or in physical form, in which case the
 agents should endeavor to locate them during the execution of a
 search warrant. Alternatively, the target may store virtual currency
 in accounts at virtual currency exchanges or at other remote locations.
   If the funds are stored locally by the target, prosecutors should
 obtain a seizure warrant covering the premises and devices where the
 private keys are located. This is frequently accomplished by including
 authority to seize cryptocurrency within Attachment B of a Rule
 41 search and seizure warrant.78 If the funds are located overseas,
 consult with OIA, as an MLAT will likely be required.
    If the funds are indeed stored locally, agents should be aware that
 they may be held in both physical and electronic form. Warrants
 should be drafted accordingly. Investigators should look for files or
 apps associated with cryptocurrency, as well as alphanumeric strings
 fitting the parameters of a cryptocurrency public or private key. Keys
 may be stored as QR codes or printed on paper as “paper wallets.”
 Users may also back up their entire wallet with the use of root keys or
 recovery seeds, typically a series of short words listed in a particular
 order.
    Investigators should also be mindful of the possibility of contextual
 evidence that may help tie a target to the underlying activity or offer
 clues as to the location of criminal proceeds. In that vein, investigators
 should look for specialized software installed on the target’s devices,
 such as the Tor browser, browser history indicative of visits to
 cryptocurrency services, and records of exchange accounts or



 THE HILL (Aug. 19, 2018), https://thehill.com/opinion/technology/40247
 7-as-iran-turns-to-bitcoin-and-its-own-cryptocurrency-to-avoid-sanctions.
 78 FED. R. CRIM. P. 41.




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   transactions paid in cryptocurrency, among others.
     Regardless of the cryptocurrency or wallet type, upon execution of a
   search and/or seizure warrant, the cryptocurrency should be moved to
   an agency-controlled wallet. It should then be held in “cold storage,”
   that is, in a secure offline device, until it is transferred to a
   United States Marshals Service (USMS) wallet (see section VII, infra).
   If the seizing agency has difficulty accessing the cryptocurrency for
   seizure, it should work with the owner or contact CCIPS for
   assistance.

   VII. Pre-seizure planning and forfeiture
   A. Valuation
     Cryptocurrency seizures with a value of more than $500,000 must
   be forfeited judicially rather than administratively.79 The value is
   assessed on the date of agency seizure. After seizure, some wallets
   receive additional coins that may not be covered by the original
   seizure warrant. Establishing the value at the real-time of the seizure
   will be critical to its success. The value of coins also fluctuates
   dramatically. To explain changes in value that appear to throw off the
   link between the amount of cryptocurrency in a wallet and the
   transactions at issue in the charges, a record of the value at seizure
   should be part of the attribution and audit trail. Real-time and
   historical cryptocurrency exchange rates can be found online.80
   B. Custody and liquidation
     Each seizing agency should have a wallet or address for temporary
   storage of seized cryptocurrency prior to the transfer of custody to the
   USMS. Agencies typically set up one or more wallets for each seizure.
   Upon seizure of cryptocurrency, or prior to the seizure if
   circumstances allow, the seizing agency should request a
   cryptocurrency wallet or address from the USMS for transfer of the
   cryptocurrency. Cryptocurrency should be transferred either
   immediately after the seizure or at the conclusion of the case,
   depending on the individual agency’s custodial policy.


   79 See Policy Manual: Asset Forfeiture Policy Manual (2016), ch. 2, sec. II.A,

   https://www.justice.gov/criminal-afmls/file/839521/download.
   80 COINBASEPRO, https://www.gdax.com/trade/BTC-USD (last visited Nov. 14,

   2018); COINMARKETCAP, https://coinmarketcap.com/ (last visited Nov. 14,
   2018).


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   In most cases, because of the risks that early conversion may pose,
 cryptocurrency should be kept in the form it was seized and not
 liquidated (that is, converted to fiat currency or other cryptocurrency)
 until a final order of forfeiture is entered or an administrative
 forfeiture is final. Agencies or prosecutors may, however, seek an
 order for the interlocutory sale of cryptocurrency at the request and/or
 consent of all parties with an ownership interest. Consultation with
 MLARS is required prior to any pre-forfeiture conversion or seeking
 an order for interlocutory sale of cryptocurrency.
   Any liquidation of cryptocurrency should be executed according to
 established written policies of the seizing agency and the USMS.
 Currently, liquidation occurs via a periodic auction conducted by the
 USMS. Although the USMS can assume custody of and sell via
 auction many types of cryptocurrency, their ability to take and
 liquidate some coins is limited.
   Prosecutors should be aware that a federal agency must follow all
 approval requirements for federal retention of forfeited property.
 Property under seizure and held pending forfeiture may not be used
 for any reason by government or contractor personnel, including for
 official use, until a final order of forfeiture is issued.81 This prohibition
 is separate and apart from operational security issues implicated by
 putting cryptocurrency back into official use. Prosecutors and
 investigators may contact the USMS complex assets unit or MLARS
 for guidance regarding disposition of any alternative cryptocurrencies
 (for example, cryptocurrency other than Bitcoin) for which the USMS
 does not yet have a process in place to take custody or liquidate via
 auction.

 VIII. International issues
 A. Undercover operations and convincing a
    defendant to travel to a third country may be
    illegal in some countries and require OIA
    permission
   Nothing establishes attribution better than an undercover operation
 that leads to an actual person to charge, especially if that target can
 be convinced to travel to a place where they can be taken into custody.


 81 See Policy Manual: Asset Forfeiture Policy Manual (2016), ch. 6, sec. IV,

 https://www.justice.gov/criminal-afmls/file/839521/download.


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   Often defendants in cryptocurrency-related cases are located in at
   least one or more foreign countries. Sometimes a defendant will have
   to be convinced to travel to a third country that is not the
   United States. Some of those countries may prohibit the use of
   undercover law enforcement activities within their borders, or forbid
   the arresting of targets without the involvement of two or three sets of
   government officials. For that reason, convincing a target or
   defendant to travel to a third country for an arrest requires careful
   coordination with OIA. OIA can also assist in explaining any
   prohibitions on undercover operations, treaties, and memoranda of
   understanding with the foreign country that may be relevant to the
   case.
   B. Anticipating MLAT or other requests across one
      or multiple nations
     Because exchanges and servers used in cryptocurrency cases may be
   located all over the globe, prosecutors should make sure they
   anticipate the possible need to use multiple MLAT requests or other
   established systems for requests and plan accordingly. A central
   feature of this planning involves early and careful coordination with
   OIA to allow for time to receive the information back from other
   countries.
   C. Embedded national security risks where nation
      states involved, and other scenarios
     Many cases can present national security concerns because of the
   nations that are involved in the criminal activity, or because
   particular individuals in those nations are acting against the national
   security interests of the United States. These concerns can also arise
   where the targets of the investigation are state actors, such as
   military or intelligence agents, or serve as proxies of a foreign
   government. Prosecutors should not assume that their knowledge of
   any particular country will suffice to guide them in managing these
   concerns. National security risks may only surface when a prosecutor
   discusses national security concerns with the investigative agents in
   their case, OIA, or the NSD. Prosecutors should work toward at least
   one person on the prosecution team itself holding the appropriate
   security clearance to review any classified information that might be
   relevant to the case.




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 IX. Sections for coordination and
     assistance
 A. CCIPS
   CCIPS advises on a range of cryptocurrency-related issues,
 including those that arise from the search and seizure of electronic
 evidence and those pertaining to the use of certain blockchain analysis
 tools.
 B. MLARS
   In 2017, MLARS established a Digital Currency Initiative. The
 program, serviced by a full-time Digital Currency Counsel, provides
 legal support and guidance to investigators, prosecutors, and other
 government agencies on cryptocurrency-related prosecutions and
 forfeitures, to include:
   •   Expanding and implementing training to encourage and enable
       more investigators, prosecutors, and Department of Justice
       agencies to pursue such cases;
   •   Developing and disseminating policy guidance on various
       aspects of cryptocurrency, including seizure and forfeiture;
   •   Advising Assistant United States Attorneys and federal agents
       on complex questions of law related to cryptocurrency to inform
       charging decisions and prosecutorial, seizure, and forfeiture
       strategies, particularly as relating to money laundering
       activities.
 C. NSD
   Consultation with NSD is helpful, and sometimes required, in
 cryptocurrency-related cases with a national security component. In
 cases involving possible espionage, foreign hacking, unlawful
 transfers of classified information, or violations of sanctions or export
 controls, the Counterintelligence and Export Control Section (CES)
 should be consulted and can provide assistance. If a case involves
 material support or funding of terrorists, the Counterterrorism
 Section (CTS) should be consulted and can provide valuable expertise.
 In some cases, clearance may be required.82
   Any case that has a national security component may require


 82 JUSTICE MANUAL § 9-90.200.




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   additional due diligence with the intelligence community, which
   requires NSD Sections to become involved, and may require additional
   effort to de-conflict the ongoing investigation.
   D. OIA
     The OIA must be consulted in any case that involves investigation
   or acquisition of evidence of information from a foreign country.
   Advanced coordination with OIA must occur in cases where law
   enforcement seeks to lure an individual or desires to conduct
   undercover operations overseas.
   E. Regulatory and civil enforcement agencies
     There are hazards inherent in prosecutors reaching out to any
   regulatory agency, such as FinCEN, the SEC, or the Commodities
   Future Trading Commission. These include the possible disclosure of
   information protected under Federal Rule of Criminal Procedure 6(e)
   and the many legal issues involved in parallel proceedings.
     Prosecutors should familiarize themselves with the cryptocurrency
   rules created by regulatory agencies by viewing their regulations and
   relevant guidance and contacting the NSD or MLARS within the
   Criminal Division for assistance with any risks presented by working
   with these agencies.83
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   83 FIN. CRIMES ENF’T NETWORK, https://www.fincen.gov/ (last visited

   Dec. 7, 2018); SEC. & EXCHANGE COMM’N, https://www.sec.gov/ (last visited
   Dec. 7, 2018); U.S. COMMODITY FUTURES TRADING COMM’N,
   https://www.cftc.gov/ (last visited Dec. 7, 2018).


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